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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                      SouthernDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                         Florida

                          JANE DOE                                    )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                         Civil Action No. 1:25-cv-20757-JB
                                                                      )
                  STEVEN K. BONNELL II                                )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Mr. Steven K. Bonnell II
                                           1504 Bay Road, Apt. 2012
                                           Miami Beach, FL 33139




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           CARLOS A. GARCIA PEREZ, ESQ.
                                           Sanchez-Medina, Gonzalez, Quesada, Lage, Gomez & Machado, LLP
                                           201 Alhambra Circle, Suite 1205
                                           Coral Gables, Florida 33134
                                           305-377-1000


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:             02/19/2025
                                                                                        Signature of Clerk or Deputy Clerk


                                                                                                      s/ A. Rodriguez
